              Case 2:15-cr-00209-JAM Document 112 Filed 04/25/16 Page 1 of 3



 1   KYLE R. KNAPP (SBN 166597)
     ATTORNEY AT LAW
 2
     1120 D Street, Suite 100
 3   Sacramento, CA. 95814
     Tel. (916) 441-4717
 4   Fax (916) 441-4299
     E-Mail: kyleknapp@sbcglobal.net
 5

 6   Attorney for Defendant
     ALGERNON TAMASOA
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 15-CR-00124-KJM
                                                    )            15-CR-00209-GEB
12                                                  )
            Plaintiff,                              )       STIPULATION AND
13                                                  )       [PROPOSED] ORDER REGARDING
     v.                                             )       CONDITIONS OF PRETRIAL RELEASE
14                                                  )
     ALGERNON TAMASOA,                              )
15                                                  )       Date: n/a
                                                    )       Time: n/a
16                                                  )       Judge: Honorable Carolyn K. Delaney
            Defendants.                             )
17                                                  )
                                                    )
18

19

20

21          In the matter at bar, Defendant seeks to temporarily alter the Court’s previously issued
22   Pretrial Release Order issued by the Hon. Carolyn K. Delaney on October 16, 2015.
23          Mr. Tamasoa’s children are in the wedding of extended family members in Reno,
24   Nevada, on April 30, 2016. There are functions the night before on April 29, 2016, the wedding
25   is on April 30, 2016, and religious services are held on Sunday at 3pm. To join his family, he
26   seeks to be allowed to travel with his family to Reno late Friday afternoon and return by 8pm on
27   Sunday, May 1, 2016. To that end, special condition # 5 - restricting his travel to only the
28   Eastern District of California, needs to be modified to allow him to travel to Reno for the


                                                        1
              Case 2:15-cr-00209-JAM Document 112 Filed 04/25/16 Page 2 of 3



 1   weekend. In addition, the monitoring condition, # 13, needs to be temporarily modified (giving
 2   him a weekend pass to Reno with no electronic monitoring, and 7am to 7pm curfew) to allow
 3   him to attend the wedding services.
 4          Mr. Tamasoa’s pretrial services officer, Renee Basurto, confirmed his itinerary and
 5   indicated he has been in compliance with all of the terms of his pretrial release. She has no
 6   objection to the temporary modification of his release orders and AUSA Christiaan Highsmith
 7   also indicated that he too has no objection to the requested temporary modification.
 8          IT IS HEREBY stipulated between the United States of America through its undersigned
 9   counsel, Christiaan Highsmith, Assistant United States Attorney, attorney for plaintiff and Kyle
10   Knapp, attorney for defendant Algernon Tamasoa;, that Special Conditions of Release, Nos. 5
11   and 13, be modified to allow him to travel from Sacramento to Reno, Nevada on April 29th by
12   3:30 and return to Sacramento on May 1, 2016 by 8pm.
13          All other terms and conditions of release remain in place.
14   IT IS SO STIPULATED.
15
     Dated: April 22, 2016                                       BENJAMIN B. WAGNER
16                                                               UNITED STATES ATTORNEY

17                                                       by:     /s/ Christiaan Highsmith
                                                                 CHRISTIAAN HIGHSMITH
18
                                                                 Assistant U.S. Attorney
19                                                               Attorney for Plaintiff

20   Dated: April 22, 2016                                       /s/ Kyle R. Knapp
21
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
22                                                               ALGERNON TAMASOA
23

24

25

26

27

28




                                                     2
              Case 2:15-cr-00209-JAM Document 112 Filed 04/25/16 Page 3 of 3



 1
                                        [PROPOSED] ORDER
 2
            The Stipulation of the parties is hereby accepted and special conditions of release No. 5
 3
     is modified to allow Mr. Tamasoa to travel to Reno, Nevada on April 29, 2016 at 3:30 p.m.,
 4
     with a return to his residence on May 1, 2016 at 8 p.m. Special Condition no. 13 is also
 5
     temporarily modified to allow him relief from the curfew and monitoring requirements in place
 6
     during the above time period.
 7

 8          IT IS SO ORDERED.

 9   Dated: April 25, 2016.                              _______________________________
                                                         HON. EDMUND F. BRENNAN
10
                                                         United States Magistrate Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                     3
